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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   EZ-CONCRETE SUPPLY, LLC,                            Case No.: 20-CV-2246 JLS (LL)
12                                      Plaintiff,
                                                         ORDER GRANTING JOINT
13   v.                                                  MOTION TO DISMISS
14   EZ POLISH SYSTEM,
                                                         (ECF No. 12)
15                                    Defendant.
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18         Presently before the Court is the Parties’ Joint Motion to Dismiss Entire Action with
19   Prejudice (ECF No. 12). Good cause appearing, the Court GRANTS the Joint Motion.
20   Defendant     EZ     Polish     System     SHALL          transfer   the   domain       name
21   https//www.ezconceretesupply.com/ to Plaintiff EZ-Concrete Supply, LLC at no cost. As
22   stipulated by the Parties, the Court DISMISSES WITH PREJUDICE, with each Party to
23   bear its own costs and attorney’s fees. The Clerk of Court shall close the file.
24         IT IS SO ORDERED.
25   Dated: May 12, 2021
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                                                                                 20-CV-2246 JLS (LL)
